LINDA L MITCHELL, D-ABFDE CERTIFIED FORENSIC DOCUMENT EXAMINER
   Mailing Address: 243 S. Escondido Boulevard #550, Escondido, CA 92025-4116
   Laboratory: 3225 N. Broadway, Escondido, CA 92026 | 888.760.0339 | 760.310.1279 | forensicqde@gmail.com
   Riverside Office: 7121 Magnolia Avenue, Riverside, CA 92504
   Long Beach Office: 444 W. Ocean Blvd. #813, Long Beach, CA 90802




                             Forensic Document Analysis Report

           Tuesday, December 6, 2022                                         Laboratory Report #22-09121.5


           William Shayne, Esq.
           64 Fulton Street
           New York, NY 10038

       In RE: Ameriway v. May C Chen, Ability Customs Broker
           Case No.:1:19-cv-09407-VSB-VF


OVERVIEW
       My client, Attorney William Shayne, represents May C Chen, d/b/a Ability Customs Broker (ACB),

the defendant in the above-captioned case. Ameriway has proposed that a supporting document submitted

by ACB is not actual output from her office machine - contending that it is fabricated.

       The subject of this examination is a printout of an email transmission from Ability Customs Brokers

to R                   of        V            , dated January 8, 2013. This document’s authenticity is disputed based

on anomalies in the layout and typestyle differences. Attorney Shayne retained me to examine this and

other printouts of email transmissions to and from ACB and opine if the contents result from fabrication

and manipulation or if there are reasonable explanations for the inconsistencies noted by Plaintiff.

       Plaintiff also questions the anachronistic presence of a footer under the signature area that refers to

an Importer Security Filing (ISF). My client asked me to perform a comparative study of additional course-

of-business documents to establish whether or not this footer was a common ACB practice and during

what time frame ACB included it in their transmissions.
                                                                                  Laboratory Report #22-09121.4
 In RE: Ameriway v. May C Chen, Ability Customs Broker
                                                                                              December 8, 2022
 Case No.: 1:19-cv-09407-VSB-VF



EXPERT QUALIFICATIONS

    I am a Certified Forensic Document Examiner. I have been confirmed as a competent expert witness

in the Superior Courts in San Diego, Orange County, Los Angeles, Riverside, and San Bernardino

Counties, as well as the United States Bankruptcy Court. I am the designated examiner for voter fraud in

the state of California for the period 2016 through 2023.

    My research has been published in the Journal of the American Society of Forensic Document

Examiners. I am a contributing author and technical advisor for two textbooks used in forensic document

examination. I have been a diplomat of the American Board of Forensic Document Examiners since 2014,

and I am a member of the American Academy of Forensics Sciences (question document section), the

American Society of Question Document Examiners, and the Southwestern Association of Forensic

Document Examiners

    I did my formal internship and training in forensic document examination at Alliance Forensics

Services from 2008 through 2011. Besides handwriting identification, my training included many aspects

of document production, printing processes, software manipulation, and anomalies created by office

machines. I have applied this knowledge since 2011 to hundreds of cases, many involving office machine

output questions. My full curriculum vitae is attached as Exhibit E.


EVIDENCE COLLECTED AND EXAMINED

    For this analysis, Attorney Shayne sent me digital images of three email printouts from 2013, 2015,

to 2017 with similar content, one of which is the disputed document. Later, the original printouts of those

emails and related documents arrived via FedEx. I then requested and received additional email printouts

and associated documents directly from Attorney Shayne’s client, which I used as supplemental baseline

comparisons. According to my client, Ms. Chen retrieved these hard copies from her storage archives. I

scanned the applicable documents onto my database for further analysis and research using digital images

and standard computer software.

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  In RE: Ameriway v. May C Chen, Ability Customs Broker
                                                                                                  December 8, 2022
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METHODS OF ANALYSIS

     This matter relates to the validity of a computer printout. Such an analysis requires a working

knowledge of office machines, their capabilities, and their shortcomings. In addition, one must understand

how office machines interpret, save, transmit and print documents to recognize the difference between

intentional manipulation and unintentional effects of moving a record from one device to another.

     I referred to the Declaration of Andrew Nicholas to identify the elements of the email in dispute. It

is attached hereto as Exhibit A. The disputed elements involve an email header purportedly created in

Outlook© software and transmitted from ACB to Ray Yow on January 8, 2013. In my experience, an

email printout such as this indicates text recognition errors. To illustrate how these digital errors can occur,

I recreated a similar email header from my Outlook© program, submitted it to myself, and printed it as

an image. I then converted it to .pdf format with OCR (Optical Character Recognition) capabilities. The

results of my laboratory experiment are illustrated in Exhibit B.

     To resolve the consistency of the email ISF footer, I compared contemporary emails sent by the

defendant addressed to other unrelated recipients. Among the email printouts are responses from the

recipients with the original document appended, and these were also included for comparison to

determine the consistency of similar transmissions. The evidence used for this procedure is included in

Exhibit C.


OPINIONS AND SUPPORTING COMMENTARY
OCR ERRORS i

     Many printers/scanners are embedded with automatic optical character recognition software that

“reads” a physical copy of the document and prints what it perceives as the characters represented in the

image. Based on my 11 years of experience and training as a Certified Forensic Document

Examiner, my expert opinion is that the email printout in dispute is not a result of manipulation

or fabrication. Instead, it is a manifestation of an office machine misinterpreting the existing file,


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converting it to electronic form, and reprinting what it senses using the type styles embedded in its system,

resulting in different font output. I can confirm that while this process has become more refined over the

years, it is a common anomaly that the visible output from OCR devices is fraught with digital

misinterpretations.

     Some software compresses an image to save computer space or saves the image at a low resolution.

Then, when the device retrieves the digital image, there is not enough data to recreate it properly. Using

current office machines, I duplicated this type of anomaly. My results represent ways fonts can become

inconsistent simply by using a different file format. See Exhibit B for my results.

FABRICATION

     Document fabrications are relatively easy to do if one has a basic knowledge of copy-and-paste

techniques. However, when differing spacing and font size show up in unusual places, the document

examiner looks to other potential reasons. For instance, parts of the email body also contain irregularities,

such as the condensed capital letters “IRS” and “EIN” in the third line (below),




or the enlargement of proper names as in the footer located directly below the signature line
as pictured below:




     In my expert opinion, assuming that these anomalies would be purposely cut-and-pasted as part of a

fabricated document is unreasonable.

     To further support my opinion, I examined a printout of the email received by ACB on January 10,

2013, in response to the January 8, 2013 message. The reply message is consistent with an ordinary memo-

style email printout, and the same anomalies appear in the original message attachment to which Raymond

Yow replied. Exhibit D contains the response under the original message.



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ANACHRONISM

    I received copies of ACB course-of-business emails dating between December 12, 2012, and January

10, 2017. Exhibit C contains these emails, and I observed that the footnote regarding the Importer Security

Filing appears on all of them. Moreover, the same footnote information was included in the email

attachments in responses from the email recipients - further supporting the practice by ACB.

    In my expert opinion, the statement below is very likely part of the predetermined signature

affixed to certain outgoing emails in the regular course of its business. Based upon my examination

of the sample documents supplied to me, it is my opinion that the statement regarding the “importer

security filing” was added as early as 2012 through including 2017 by ACB in the regular course of its

business. It is not an anachronistic fabrication, but was instead a part of the day-to-day transmissions

during the period examined...”

                **Important!!!**
          U.S. Customs & Border Protection will commence full ISF enforcement on
          July 9, 2013 and will issue liquidated damages against the importer for non-
          compliance. The Importer Security Filing must be electronically filed with
          CBP no later than 24 hours prior to the departure of the vessel and it is the
          importer’s responsibility to endure that it is done. Liquidated damages
          assessed will be $5,000 per violation so please contact broker to make sure
          that you supply the information in advance or make arrangements to have it
          filed.




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    In RE: Ameriway v. May C Chen, Ability Customs Broker
                                                                                                  December 8, 2022
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PROTOCOLS

       This matter was examined and reported upon within the guidelines set by the U.S. Commerce

Department’s National Institute of Standards and Technology (NIST) - Organization for Scientific Area

Committees (OSAC), established to coordinate the development of standards and guidelines for the

science community. SWGDOC.org (Scientific Working Group for Forensic Document Examination)

currently publishes these standards and newly updated standards recognized and approved by ANSI

(American National Standards Institute).




               Linda L Mitchell, D-ABFDE
               Certified Forensic Document Examiner

Attachments:
A – Declaration of Andrew Nicholas
B – Laboratory Printing Anomaly Results
C – ACB Email Printouts
D – Raymond Yow Email Message and Response
E – CV of Linda L Mitchell


iOptical character recognition or optical character reader (OCR) is the electronic or mechanical conversion
of images of typed, handwritten or printed text into machine-encoded text. Early versions needed to be trained
with images of each character, and worked on one font at a time. Advanced systems capable of producing a high
degree of recognition accuracy for most fonts are now common, and with support for a variety of digital image
file format inputs. Ref. https://en.wikipedia.org/wiki/Optical_character_recognition




                                                                                                       6 OF 6
Declaration of Andrew Nicholas




          Exhibit A
     Case 1:19-cv-09407-VSB-VF Document 158-4 Filed 09/09/22 Page 2 of 14




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


 Ameriway Corporation

                                 Plaintiff,
                 v.

 May Yan Chen,                                               19-cv-09407 (VSB) (VF)

 Ability Customs, Inc.,

                                 Defendants.


                        DECLARATION OF ANDREW NICHOLAS

I, Andrew Nicholas, declare the following:

   1. My name is Andrew Nicholas. I have over 20 years of experience in the graphic design

       field. From 2011-2021, I was COO and Partner of “Pixel Parlor,” an award-winning

       design studio specializing in both print and web design services. I am currently employed

       as a Senior UX Designer at BP3 Global, a software company in the automation

       technology field.

   2. I have substantial experience in multiple digital mediums, such as electronic imaging,

       printing, publishing, photo retouching, printing equipment, printing supplies, computer

       graphics (Adobe Creative Cloud) and digital imaging. As a graphic designer, I also have

       considerable educational and professional experience in typography and fonts within

       printing and marketing settings. In 2003, for example, I attended a six-week course in the

       United Kingdom focused exclusively on typography at the University of Reading,

       deepening my knowledge of the details and elements that comprise font families. My

       resume is attached herein in Appendix A.




                                               1
                                                                                 ACB 002 LLM
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3. I continue to review materials and documents related to this case and reserve the right to

   supplement this expert opinion based on any additional work that I may be asked to do.

Background and Documents Reviewed

4. It is my understanding that the Defendant in this case, May Yan Chen (“Chen”), claims to

   have sent a document titled “Terms and Conditions” to Plaintiff Ameriway Corporation

   in April 2017, granting her the right to place a lien over several cargo containers. I

   understand Ameriway disputes that Chen ever had a valid lien, and is challenging the

   authenticity of several documents related to the Terms and Conditions.

5. I have reviewed two email exhibits submitted by Chen to the Court on August 16, 2022,

   marked as 157-1, 157-3. I understand the email exhibits are PDF scans of paper

   hardcopies; and, electronic versions of the emails are unavailable at this time. A

   complete list of the documents reviewed by me for this report is shown in Appendix B.

6. I understand Chen is offering the emails as proof that the Terms and Conditions are

   authentic, specifically that she sent the document to her customers since 2011. The first

   email I reviewed is dated January 8, 2013 (157-1), and references a “Power of Attorney

   & Terms of Conditions” in the ‘Subject’ line; it also references a “Terms and Conditions

   .pdf” in the ‘Attachments’ field. The second email I reviewed is dated January 5, 2017

   (157-3), and references the “Terms and Conditions.pdf” in the ‘Attachments’ field.

7. The email printouts were generated in Microsoft Outlook, which prints the body of the

   email below a standardized header (known as the “memo header”) containing the ‘From,’

   ‘Sent,’ ‘To,’ ‘Subject’, and ‘Attachments’ fields.

8. Outlook allows users to define a single font for the title bar and memo header fields, but

   does not allow the user to choose multiple/different fonts within the header fields. For




                                             2
                                                                               ACB 003 LLM
 Case 1:19-cv-09407-VSB-VF Document 158-4 Filed 09/09/22 Page 4 of 14




   example, a user cannot use “Times New Roman” in the “From” field, and “Calibri” in the

   “Attachments” field. Nor does Outlook allow users to introduce any variation of font size

   (different sized text is not permitted), nor font width (the user cannot specify that certain

   fields/text is more condensed or expanded).

9. Additionally, Outlook sets default spacing (referred to as “kerning” within a word, or

   called “tracking” when referring to the letter spacing of an entire line) of the characters

   within the memo header fields, which cannot be adjusted. This means there will always

   be uniform spacing between the letters within the memo header fields of a printed

   Outlook email. And while a user may adjust the font size of the header field, this

   selection will always result in all characters being uniform in size. Again, Outlook does

   not allow for different font sizes or types within the printed memo header.

10. The two emails at issue contain multiple formatting inconsistencies (e.g., different font

   characteristics and unexpected spacing within the header, indentation inconsistencies) not

   permitted within Outlook, and which are strong evidence of digital manipulation.

The January 2013 Email (157-1): Indentation Inconsistencies Within the Memo Header

11. Outlook automatically formats all lines within the memo header fields flush left (aligned

   on the left axis). This default setting cannot be altered by the user. However, the subject

   email printout, dated January 8, 2013, contains a clear indentation anomaly, namely ‘May

   C’ in the ‘From’ line is noticeably not aligned with the ‘To,’ ‘Subject’, and ‘Attachment’

   lines. Outlook does not permit these indentation variations.




                                             3
                                                                                ACB 004 LLM
    Case 1:19-cv-09407-VSB-VF Document 158-4 Filed 09/09/22 Page 5 of 14




The January 2013 Email (157-1): Impossible Font Variations Within the Memo Header

   12. Outlook allows the user to select different fonts within the body, or message portion of

      the email. However, Outlook does not allow different font variation (sizes, styling, etc.)

      within the memo header itself. In other words, the font within the ‘From,’ ‘Sent,’ ‘To,’

      ‘Subject’, and ‘Attachments’ fields should be completely uniform. However, the January

      2013 email contains obvious font inconsistencies within the header, which is a clear sign

      of digital manipulation. For example, ‘Terms of conditions’ within the ‘Subject’ line is

      noticeably different from ‘Terms and ‘Conditions.pdf’ in the ‘Attachments’ line. These

      characters should be the same size in an email printout, but even a cursory review reveals

      they are not:




                                                4
                                                                                 ACB 005 LLM
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 The January 2013 Email (157-1): Impossible Space Variations Within the Memo Header

   13. The spacing (“tracking”) between the characters in the memo header is set by Outlook,

      and cannot be altered by the user. There is no practical reason to change the spacing

      within the memo header, so Outlook does not even provide the option. However, the

      January 2013 email contains space variation between the letters in the same line.

      Specifically, there is significantly more space between the letters in ‘January’ than

      ‘Tuesday’ in the ‘Sent’ line. This tracking inconsistency is not possible within Outlook,

      which controls tracking, and is a clear sign of image manipulation.




The January 2017 Email (157-3): Spacing Anomalies Within Memo Header

   14. Again, Outlook controls spacing within the memo header; spacing should be absolutely

      uniform. However, in the January 2017 email, the date information—‘Thursday, January

      5, 2017 1:02 PM’—contains significantly larger spacing between the elements. Even a

      cursory glance shows double spacing between ‘Thursday’ and ‘January’ within the Sent

      field. There are also two spaces between ‘2017’ and ‘1:02 PM’ in the ‘Sent’ line, which

      again is not permitted (nor would ever occur) within Outlook.




                                               5
                                                                                  ACB 006 LLM
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   15. Further, when a user sends an email, the date information is automatically logged by

      Outlook. Outlook retrieves and displays this information when the user prints an email

      through the ‘Memo Style’ function. Outlook handles this entire process, and certainly

      does not allow the user to change the spacing within the ‘Sent’ field. Again, there is no

      practical reason for double-spacing between the elements in the ‘Sent’ field, so the user is

      not given the option to make these alterations in the first place.

The January 2017 Email (157-3): ‘Times New Roman’ Inconsistencies Within the Memo
Header

   16. Again, font size and type should be absolutely uniform within the Memo Header.

      However, in the ‘Attachments’ line, the words ‘Terms and Conditions.pdf’ are

      compressed (squeezed horizontally) in contrast to ‘sheet.docx,’ which are visibly

      extended (horizontally stretched). Outlook does not permit such variation within the

      Memo Header, much less within the same line in the Memo Header. This is a clear sign

      of digital manipulation.




                                                6
                                                                                 ACB 007 LLM
     Case 1:19-cv-09407-VSB-VF Document 158-4 Filed 09/09/22 Page 8 of 14




   Summary of Findings and Conclusion

   17. In my opinion, there is overwhelming digital evidence the two subject emails have been

       manipulated/edited. The multiple formatting discrepancies identified above, which are

       visibly noticeable to a layperson, simply do not occur within Outlook. Further, these

       anomalies are not the result of poor scanning, because the scanning of a non-flat piece of

       paper (resulting in a curved surface or plane) always manifests itself with a consistent

       transformation of page content, be it vertically, horizontally, or diagonally, often paired

       with slight discoloration of the background, as the paper’s curve introduces a shadow

       gradient. A visible symptom of a poor scan does not selectively impact only one word or

       part of a line, it imprints itself in a larger way, impacting more page content.

   18. In conclusion, it is my informed opinion, to a very high degree of confidence, the two

       printouts do not represent original, untouched, authentic emails. They could not have

       been generated by Outlook in their present form without being edited/manipulated.

   19. I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 8th day of September, 2022.


                                                             ___________________
                                                             Andrew Nicholas


                                                 7
                                                                                    ACB 008 LLM
Laboratory Printing Anomaly Results




           Exhibit B
                OCR Interpretation Error Exercise

  1.   Copied the email in question and saved it as a bitmap image.
  2.   Converted the image to a .PDF document with OCR capabilties




                                                   Copy retrieved from client’s
                                                   physical records saved as .bmp




                                                   Printout using OCR


In this instance the OCR misinterpreted typestyles, spelling,
spacing, and punctuation.
ACB Email Printouts
Reordered Chronologically




     Exhibit C
   R
Message and Response




   Exhibit D
CV of Linda L Mitchell




    Exhibit E
                                                                                                                                   Page 1 of 4




   Linda L Mitchell, D-ABFDE
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        Lab Address: 260 S. Orange Street #10, Escondido, CA 92025 | 760.310.1279 | forensicqde@gmail.com
        Riverside Office: 7121 Magnolia Avenue, Riverside, CA 92504
        Long Beach Office: 444 W. Ocean Blvd. #813, Long Beach, CA 90802



Linda Mitchell is a Certified Forensic Document Examiner and Handwriting Expert. The work of a document examiner most often involves
the identification or authentication of handwriting; but, there are many other aspects of the profession that can be applied to a document in
question. Deciphering documents containing indented writings, and obliterated content and insertions of additional data are just a few
examples that can be part of a complex multiple–page document examination. Linda is fully capable of performing all such examinations.

Linda’s laboratory includes up–to–date equipment and a full library of reference resources. She provides informative presentations about
most aspects of the field document examination for small or large audiences, and is a competent expert witness confirmed in San Diego,
Orange County, Los Angeles, Riverside and San Bernardino Superior Court as well as Federal Bankruptcy Court. Linda is has also been
selected by the Office of the Secretary of State as the Voter Fraud Examiner for the 2016 election year through 2023.

Her professional research, was published in the Journal of the American Society of Forensic Document Examiners, June 2016, is entitled, A
Blind Study of the Reliability of Hand Printing Identification by the Forensic Document Examiner. She initiated this study in response to a
2013 ruling by the 7th District Court disallowing testimony because of the lack of meaningful research on the subject.

Linda Mitchell is also a contributing author and technical advisor to two recently published textbooks. Forensic Document Examination in
the 21st Century, edited by Jan Seaman Kelly and Miriam Angel, pp 105-109, 2021, CRC Press and the Second Edition of Forensic
Handwriting Identification: Fundamental Concepts and Principles, Ron Morris, 2021, Elsiver Ltd.

Ms. Mitchell completed her formal apprenticeship in questioned document examination under the direct supervision of Manny Gonzales,
who has more than 40 years of professional experience involving most aspects of forensic document examination. (Mr. Gonzales’ CV is
available upon request.) Her training conformed to SWGDOC.org guidelines and the Southwestern Association of Forensic Document
Examiners (SWAFDE) Training Guidelines (2006) which included training from FBI and Secret Service materials.

Education
            1970-73        AA in Dental Hygiene - Cerritos College, Norwalk, CA
            2006-08        BS in Criminal Justice Administration - University of Phoenix, Phoenix, AZ
            2008-11        Internship and Training in Forensic Document Examination - Alliance Forensic Services
Certification
            2014-now       Diplomate of the American Board of Forensic Document Examiners
Scope of Practice
            Expert Analysis and Testimony and Consulting for all types of document and handwriting matters
             Probate      Family Law           Personal Investigations
             Fraud        Medical Malpractice  Corporate Investigations
             Civil        Criminal             Private Matters
Areas of Expertise
            Expert Witness Testimony
            Handwriting and Signature Identification / Authentication
            Development & Deciphering of Indented Writings  Counterfeit Detection
            Analysis of Computer–Generated Documents  Photocopy Manipulations
            Relative Document Dating & Anachronisms  Decipherment of Obliterations
            Non–destructive Ink & Paper Analyses  Typewriting Classification & Identification
            Examination of Altered Documents  Photocopier Classification & Identification
Memberships
            ABFDE – Diplomate of the American Board of Forensic Document Examiners
            AAFS – American Academy of Forensic Sciences – Questioned Document Section (Fellow)
            ASQDE – American Society of Questioned Document Examiners (Member)
            SWAFDE – Southwestern Association of Forensic Document Examiners (Member)
            RCBA – Riverside County Bar Association (Supporting Member)




                                                           Linda L Mitchell, D-ABFDE
                                                                 888.760.0339
                                                                                                                                    Page 2 of 4




Other Awards and Endeavors

         o Recipient of the AAFS 2020 Hilton Award for outstanding contributions to the profession
         o California Secretary of State – Voter Fraud Examiner 2016-2023
         o Moot Court Training for the San Diego and Riverside County Sheriff Crime Lab Trainees
         o US Attorney, Eastern California District Expert
         o San Bernardino County Public Defender Designated Expert
         o Riverside County Office of the Public Defender Expert
         o Fresno County Office of the Public Defender Expert
         o Tulare County Office of the District Attorney and Sheriff Dept. Expert

Publications 2009–Present

  2020      Forensic Document Examination in the 21st Century, contributing author pp105-109. 2021 CRC Press (Peer Reviewed)
  2016      The Reliability of the FDE in Identification of Hand Printing, A Blind Study. The Journal of ASQDE, Vol. 19, Number 1, June 2016,
            pp 25-32. (Peer Reviewed)
  2015      Is a Notarized Document Genuine? Syndicated through Ezine @rticles to NBIZ Magazine
  2015      The Forensic Significance of Handwriting Biometrics. Published in Digital Forensics Magazine (co-author Bill Flynn (ret.),
            certified forensic document examiner)

Examined Documents and Conclusions Rendered on Behalf of:

            CA Secretary of State                  Lanak & Hanah – Orange                       James O. Douglass, Esq. – Palm Desert
            United States Attorney's Office        Lurie, Zepeda, Schmalz, Hogan & Martin,      Sheppard, Mullin, Richter & Hampton - Palo
            Eastern District of California         APC - Los Angeles                            Alto

            Riverside County Public Defender       Best Best & Kreieger – Riverside             Robert W. Pederzani, Esq. – Newport Beach
                                                                                                Burns, Schaldenbrand & Rodriguez –
            Fresno County Public Defender          Musick, Peeler & Garrett – San Francisco
                                                                                                Oceanside
            CA Dept. of Consumer Affairs           Hueston Hannegan - Los Angeles               Vivoli Sacuzzo, LLP – San Diego

            San Diego Co. District Attorney        Schorr Law – Orange County                   Zinder & Kock - Stevenson Ranch

            Tulare County Sheriff’s Dept.          Tulare County District Attorney              Anderson and LeBlanc - Upland


Presentations 2009–Present
  General Forensic Document Examiner Information

         o Embry-Riddle Aeronautical University, Guest Lecturer for General Forensics Class, Prescott, AZ

         o LSI (Legal Secretaries Inc.) Quarterly Conference, Palm Springs, CA

         o Lake University, Guest Lecturer for Criminalistics Class Camp Pendleton, CA.

         o ACFI (Association of Certified Fraud Investigators) (2 MCLE units) Orange County, CA

         o ACFI, Palm Desert, CA (co–presenter Manny Gonzales)

         o National League of Licensed Investigators, Ontario, CA (co–presenter Manny Gonzales)

         o Orange County Chapter of ACFI, Irvine, CA (co–presenter, Manny Gonzales)

         o Annual Conference of Calif. Assoc. of Licensed Investigators – (CALI), Costa Mesa, CA
           (co–presenter, Manny Gonzales)

         o San Diego Public Defenders (MCLE provider units; co–presenter, Manny Gonzales), Vista, CA

         o Other presentations to San Diego Republican Women’s Club, Escondido Rotary, Escondido Chamber of
           Commerce, Fallbrook Women’s Association, Forensic Expert Witness Association (FEWA San Diego Chapter)




                                                             Linda L Mitchell, D-ABFDE
                                                                   888.760.0339
                                                                                                                              Page 3 of 4




  Presentations to Colleagues
  Introduction to the Application of Practice Management Software for the FDE
          ASQDE Annual Scientific Session, Charleston, SC 2019 and AAFS Scientific Session 2020
  Discussion of research regarding the Reliability of the FDE to Identify Hand Printing
          AAFS – American Academy of Forensic Science Annual Scientific Session
          2017 and as part of a 6-hour Workshop on hand printing at AAFS 2020
  Arabic Signatures on American Documents; Are there Class Characteristics?
          AAFS – American Academy of Forensic Science Annual Scientific Session
          (Ron Morris, former USSS FDE presented on her behalf)
  Methods for Reassembling Crosscut Shredded Documents
          ASQDE Annual Scientific Session, Charleston, SC
          (presented on behalf of Larry A. Olson, Diplomate – ABFDE, IRS QD Lab, Chicago, IL)
  Training Requirements for the Forensic Document Examiner
          IAI, California Regional Education Conference, San Diego, CA (co–presenter, Manny Gonzales)
          IAI, International Educational Annual Conference (co–presenter, Manny Gonzales), Spokane, WA
  Computer–Generated Altered Document Detection
          SWAFDE, 30th Anniversary Meeting, Scottsdale, AZ
          IAI, International Educational Annual Conference (co–presenter, Manny Gonzales), Spokane, WA
  Onsite Infrared/Ultra Violet Examination of Questioned Documents
          SWAFDE Annual Scientific Session (co–presenter, Manny Gonzales), Los Angeles, CA

Highlights of Approved Continuing Professional Education
        • ICITAP - Global Collaboration of Forensic Scientists Webinar May 18 2022
        • AAFS – Annual Scientific Session attended 2007–2012, 2015–2021
        • ASQDE – Annual Scientific Meetings attended 2011–2015, 2017–2020
        • Texas A&M – Foundations of Fingerprint Comparison 2015
        • SWAFDE – Annual Conferences attended 2009–2016, 2018
        • NIST – Measurement Science Standards in Forensic Handwriting Analysis Conference 2013, 2015
        • ICAP – Annual Education Conference 2012
        • FBI/NIJ – Impression and Pattern Evidence Symposium 2012
        • Notary Public Mandatory Training 2012, 2016
        • IAI – Annual Scientific Meeting 2012
        • LCI – Methods of Latent Print and Crime Scene Processing 2009
        • Escondido Adult Education – Photoshop Applications 2009
        • ST2AR FDE Workshop 2008
        • SEAK – Expert Witness Conference 2007


  Following are full names represented by the acronyms above:

  AAFS – American Academy of Forensic Sciences, multi–disciplinary professional organization that provides leadership to
  advance science and its application to the legal system. Highly regarded among forensic experts; membership in FDE section
  is vetted.
  ASQDE – American Society of Questioned Documents Examiners, the oldest and largest organization in the world dedicated to
  the profession of forensic document examination. Strict membership requirements.
  SWAFDE – Southwestern Assoc. of Forensic Document Examiners, a regional FDE organization; membership is vetted.

  ICITAP - The International Criminal Investigative Training Assistance Program (ICITAP) works with foreign governments to
  develop professional and transparent law enforcement institutions.

  IAI – Int'l Assoc. for Identification, oldest & largest forensic assoc. in the world. Membership in QD section is vetted.
  ICAP – Inland Counties Association of Paralegals
  LCI Services– Lewis Consulting and Investigative Training, Inc., a for–profit law enforcement training company.
  NIST – National Institute of Science and TechnologyS
  SEAK – Skills, Education, Achievement, Knowledge, a for–profit continuing education, consulting & publishing company.
  ST2AR – Skill Task Training Assessment Research, Inc., training, testing and research provided for a fee by ABFDE certified
  Forensic Document Examiners with the express goal of advancing the forensic sciences.



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Court Appearances within the last five years




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